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                       IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

UNITED STATES OF AMERICA                        )
                                                )
       v.                                       )   No. 0860 4:20-CR-00288-02 DPM
                                                )
BRITTANY DAWN JEFFREY                           )


                 MOTION TO REMOVE DRUG TESTING CONDITION
                  OR TO PERMIT DEFENDANT TO USE MEDICAL
                 MARIJUANA UNDER ARK. CONST., AMENDMENT 98

       Defendant is drug tested by U.S. Pretrial Services for exercising her state constitu-

tional right to use medical marijuana. She is not, however, charged here with a drug

offense. Rather, she is tested because she volunteered to both U.S. Pretrial Services and

the Magistrate Judge at plea and arraignment that she was a medical marijuana user with a

state issued card. She has a legitimate condition authorizing her to use medical marijuana

in Arkansas. As expected, she has been testing positive for medical marijuana when

tested by U.S. Probation. After numerous positive tests, they are now likely to report her

to the court.1

       As an Arkansas medical marijuana user under Ark. Const., Amendment 98, § 3(a,

c), she is exempt from prosecution or penalties or cannot be denied privileges under state

law.2 What about federal law?

       1
         As we all well know, marijuana will show up on a drug test for up to a month
after consumption, so positive doesn’t mean impaired.
       2

                 (a) A qualifying patient or designated caregiver in actual possession

                                                1
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       While she’s tested positive, defense counsel has never encountered her impaired

by medical marijuana.

                       I. Drug Testing Under General Order No. 37

       Defendant submits that, under the canon of construction of constitutional avoid-

ance,3 the court should just remove the drug testing condition because it’s not part her

alleged offense.

       General Order No. 37 (Nov. 13, 1991) requires drug testing in drug cases but

leaves it to the Magistrate Judge whether some other accused person should be tested: “In

all other cases, a pretrial services officer shall contact the duty magistrate judge to

determine whether the defendant shall be tested.” If she shows up for trial impaired,

that’s a given if she can’t properly assist counsel. If that’s the case, defense counsel

would warn the court. As we just said, however, not every medical marijuana consumer is



       of a registry identification card shall not be subject to arrest, prosecution, or
       penalty in any manner or denied any right or privilege, including without
       limitation a civil penalty or disciplinary action by a business, occupational,
       or professional licensing board or bureau, for the medical use of marijuana
       in accordance with this amendment if the qualifying patient or designated
       caregiver possesses not more than two and one-half ounces (2½ oz.) of
       usable marijuana.
               ...
               (c) A qualifying patient or designated caregiver shall not be subject
       to arrest, prosecution, or penalty in any manner or denied any right or
       privilege, including without limitation a civil penalty or disciplinary action
       by a business, occupational, or professional licensing board or bureau, for
       giving, or offering to give, up to two and one-half ounces (2½ oz.) of usable
       marijuana to a qualifying patient or designated caregiver for the qualifying
       patient’s medical use when nothing of value is transferred in return.
       3
           See, e.g., Crowell v. Benson, 285 U.S. 22, 62 (1932).

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always impaired merely by their ingestion of cannabis for medicinal purposes.

       We submit, therefore, that despite her positive UAs with Pretrial Services, they

cannot attest that she was ever impaired by medical marijuana. And, if she was not

impaired, then the drug testing condition isn’t serving any rational governmental interest.

       Therefore, the court should exercise its discretion in the inherent power of the

court and remove the drug testing condition except maybe for any hearing or trial. But

still, positive doesn’t mean impaired. In addition, the court can inquire of both lawyer

and defendant whether she is, in the words of Judge Wilson and adopted by Judge Baker,

“at herself.” If she’s not, defense counsel will tell the court because that would be a

problem for trial. A mere positive UA for marijuana, however, really means nothing in

the overall scheme of things.

                   II. Possession of Marijuana under 21 U.S.C. § 844(a)

       Possession or use of marijuana is a crime under the federal Controlled Substances

Act of 1970 (CSA), 21 U.S.C. § 844(a), even though the federal government through the

Department of Justice would never, ever prosecute such a small simple possession case,

except through 36 C.F.R. § 2.35(b)(2), for, say, possession of marijuana on the Buffalo

River National Park or Hot Springs National Park.4 Now, 33 states and the District of

Columbia have since legalized marijuana for medical use and 11 recognize adult use.

This issue is going to keep arising.

       In United States v. Arizaga, 2016 WL 7974826 (S.D. N.Y. Dec. 22, 2016), the


       4
           Still, however, is a medical marijuana user exempt?

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court ordered U.S. Pretrial Services to not report defendant’s failing drug tests for

medical marijuana.5

                            III. Constitutional Considerations

       Failing that, defendant raises the following alternative arguments6:

A.     The Controlled Substances Act is unconstitutional as applied to Arkansas
       grown medical marijuana because it exceeds Congress power over interstate
       commerce.

       1.       The federal Controlled Substances Act of 1970 (CSA) has now come to be

irrationally legislating marijuana into Schedule I for alleged lack of any medical use.7

The Controlled Substances Act is based on the Commerce Power, U.S. Const., art. I, § 8,

cl. 3. See, e.g., Gonzales v. Raich, 545 U.S. 1, 16–18 (2005), and id. at 17 (“Our case law

firmly establishes Congress’ power to regulate purely local activities that are part of an

economic ‘class of activities’ that have a substantial effect on interstate commerce. See,

e.g., Perez, 402 U.S., at 151; Wickard v. Filburn, 317 U.S. 111, 128-129 (1942).”).

       Gonzalez, 541 U.S. at 14 states: “Schedule I drugs are categorized as such because

of their high potential for abuse, lack of any accepted medical use, and absence of any

       5
         Accord: United States v. Katz, 2010 WL 183863 (9th Cir. Jan.19, 2010) (vacating
a pretrial detention order which modified defendant’s bond order to permit use and
possession of medical marijuana in compliance with California law).
        Compare United States v. Pearlman, 2017 WL 7732811 (D. Conn. July 7, 2017)
(court considers and rejects modifying drug testing condition for medical marijuana user
resting on defendant’s credibility problems with marijuana usage).
       6
        Rather than filing a 40 page brief, defendant outlines her arguments for the
purpose of preservation.
       7
        Even though every state ranks marijuana far lower, or even outright
decriminalizes it.

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accepted safety for use in medically supervised treatment. § 812(b)(1).” Half a century

after the CSA, and 16 years after Gonzalez, this knee-jerk legislative judgment of lack of

medical use has been proven manifestly false because nearly three-quarters of the states

and the District of Columbia, over 80% of the population of the United States, have

access to medical or recreational marijuana or both.

       Thus, this 51 year old legislative judgment is no longer entitled to a presumption of

validity – the states in the 30 years of medical marijuana legislation since California in the

early 1990’s have proved it wrong.

       2.       Because medical marijuana in Arkansas is home grown, there’s no interstate

commerce effect. Non-medical marijuana logically moves more in interstate commerce,

but Arkansas medical marijuana does not. It just can’t. Therefore, Wickard and Gonzalez

don’t compel a finding that the CSA should be applied to Arkansas medical marijuana.

       3.       Because Arkansas recognizes possession and use of medical marijuana as a

fundamental right, the federal government must to recognize it under the Ninth8 and

Tenth9 Amendments.

B.     Congress has not preempted state regulation of marijuana.

       Yes, there is a Supremacy Clause in U.S. Const., art. VI ¶ 2, but it isn’t absolute or

invoked just because Congress has legislated, too.


       8
        “The enumeration in the Constitution, of certain rights, shall not be construed to
deny or disparage others retained by the people.”
       9
         “The powers not delegated to the United States by the Constitution, nor
prohibited by it to the States, are reserved to the States respectively, or to the people.”

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       Under preemption, state law is displaced only “to the extent that it actually

conflicts with federal law.” Pacific Gas & Elec. Co. v. State Energy Resources Conserva-

tion and Development Comm’n, 461 U.S. 190, 204 (1983).10 “[T]he rule [is] that a

federal court should not extend its invalidation of a statute further than necessary to

dispose of the case before it.” Brockett v. Spokane Arcades, Inc., 472 U.S. 491, 502

(1985).

       Did Congress intend to preempt the field of criminalizing or legalizing

marijuana?11 Of course not. After all, 99+% of marijuana cases originate in state courts.

Only the bigger possession or delivery cases end up here. A user case only comes to the

court on pretrial release issues or a misdemeanor possession case on federal lands, and

neither is prosecuted under the CSA.12

       Medical marijuana and federal prohibition have to find a way to coexist. They

don’t have to be adverse to each other.

C.     Privileges and immunities

       Combined with the Ninth and Tenth Amendments, defendant asserts the privileges

an immunities clause. U.S. Const., art. IV, § 2 (“the citizens of each state shall be entitled

to all privileges and immunities of citizens in the several states.”). Some federal courts in


       10
            Which here harkens back to just dropping the drug testing condition.
       11
         See New York State Dept. of Social Services v. Dublino, 413 U.S. 405, 413
(1973) (“If Congress is authorized to act in a field, it should manifest its intention clearly
…. The exercise of federal supremacy is not lightly to be presumed.”).
       12
            See text accompanying note 4, supra.

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other states have relaxed prohibitions against medical marijuana for non-drug case federal

defendants, then this court should, too. When medical marijuana is a state constitutional

right, the federal government, U.S. Pretrial Services or the court, should be loathe to even

attempt to interfere with good faith actions under that state right. A citizen of New York

or California, for example, gets to use medical marijuana on pretrial release, but an

Arkansan cannot? That violates the privileges and immunities of American state citizen-

ship.

        On privileges and immunities, the Supreme Court often quotes the two century old

opinion of Justice Washington that it protects only “those privileges and immunities

which are, in their nature, fundamental; which belong, of right, to the citizens of all free

government; and which have, at all times, been enjoyed by the citizens of the several

states which compose this Union …. ” Corfield v. Coryell, 6 F. Cas. 546, 551, No. 3230

(C.C.E.D. Pa. 1823) (No. 3,230) (Justice Washington as Circuit Justice).13

        Medical marijuana under Amendment 98 is a fundamental right that cannot be

penalized, and should not be in federal court either.

        Many cases, too many to cite, hold that states can grant more individual rights than

the federal government. See, e.g., Delaware v. Van Arsdall, 475 U.S. 673, 707 & n.15

(1986). If the court thinks, “well, there’s a gap here,” the Ninth and Tenth Amendment

fill the gap. A state constitutional right should be enforceable in federal court, not ignored



        13
       ROTUNDA & NOWAK, TREATISE ON CONSTITUTIONAL LAW – SUBSTANCE &
PROCEDURE § 12.7(d)(ii) (5th ed. 2020 update).

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or easily displaced for a pro forma argument “the federal Controlled Substances Act

makes it illegal” even though you’ll never be prosecuted, just penalized for exercising a

state constitutional right and violating state-federal comity.

D.     The Department of Justice “appropriation rider” prohibits the any represen-
       tative of the Department of Justice from participating on this issue.

       For the past several federal budget years, there is an “appropriation rider” on the

Department of Justice budget prohibiting its representatives from litigating medical

marijuana issues. There is a rider in the current budget, too.

       In United States v. Jackson, 388 F.Supp.3d 505, 512–14 (E.D. Pa. 2019), the court

held the appropriation rider prevents DOJ from participating in medical marijuana

decisions in federal court.

E.     The position of the prosecution

       Defendant did not seek the position of the U.S. Attorney because of Jackson.

                                       CONCLUSION

       1.       The court should eliminate the drug testing condition as not serving a

legitimate governmental interest unless or until she is actually impaired, not just testing

positive.

       2.       Alternatively, the court should reach the constitutional questions and hold

that she has a state constitutional right to use medical marijuana as recommended by a

physician which the federal courts must recognize under the privileges and immunities

clause and the Ninth and Tenth Amendments and the inherent powers of the courts.



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                                  Respectfully submitted,

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